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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Ciara Vesey,

                    Plaintiff
                                                 Case No. 1:18-cv-01084
        v.

Envoy Air, Inc. d/b/a American Eagle Airlines,   (Assigned to the Honorable Elaine E. Bucklo)
Inc.,

                    Defendant.


                             CORPORATE DISCLOSURE STATEMENT

        This Corporate Disclosure Statement is filed on behalf of Defendant Envoy Air, Inc.
d/b/a American Eagle Airlines, Inc. in compliance with the provisions of: (check one)
             X   Rule 7.1, Federal Rules of Civil Procedure, a nongovernmental corporate
party to an action in a district court must file a statement that identifies any parent
corporation and any publicly held corporation that owns 10% or more of its stock or states
that there is no such corporation.
        ____ Rule 12.4(a)(1), Federal Rule of Criminal Procedure, any nongovernmental
corporate party to a proceeding in a district court must file a statement that identifies any
parent corporation and any publicly held corporation that owns 10% or more of its stock
or states that there is no such corporation.
        ____ Rule 12.4(a)(2), Federal Rule of Criminal Procedure, if an organizational
victim of alleged criminal activity is a corporation the government must file a statement
identifying the victim and the statement must also disclose the information required by
Rule 12.4(a)(1).
        The filing party hereby declares as follows:
        ____ No such corporation.




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          X     Party is a parent, subsidiary or other affiliate of a publicly owned corporation
as listed below. (Attach additional pages if needed.)
         Envoy Air Inc. is a subsidiary of Envoy Aviation Group, which is a subsidiary
of American Airlines Group, Inc – a publicly traded company.
         ____ Publicly held corporation, not a party to the case, with a financial interest in
the outcome. List identity of corporation and the nature of financial interest. (Attach
additional pages if needed.)
         Other (please explain) _______________________________________________
         A supplemental disclosure statement will be filed upon any change in the
information provided herein.


Dated:         April 30, 2018

                                                 Respectfully submitted,


                                                 /s/ Stephanie J. Quincy
                                                 Stephanie J. Quincy (AZ No. 014009)
                                                 Quarles & Brady LLP
                                                 One Renaissance Square
                                                 Two North Central Avenue
                                                 Phoenix, Arizona 85004-2391
                                                 602.229.5407




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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 30th day of April 2018, I filed the foregoing

electronically through the CM/ECF system, which caused the following parties or counsel to be

served by electronic means, as more fully reflected on the Notice of Electronic Filing:

        HONORABLE ELAINE E. BUCKLO
        United States District Court
        Northern District of Illinois - Eastern Division
        Everett McKinley Dirksen United States Courthouse
        (Courtroom 2243/Chambers 2246)
        219 South Dearborn Street
        Chicago, IL 60604

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/s/ Sarah A. Haddix
An employee of Quarles & Brady LLP




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